Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 1 of 20 PageID# 2219




          Exhibit B
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 2 of 20 PageID# 2220




                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA


SONY MUSIC ENTERTAINMENT, et al.,

          Plaintiffs,
                                                            Case No. 1:18-cv-00950-LO-JFA
v.

COX COMMUNICATIONS, INC., et al.,

          Defendants.



                            COX’S RESPONSES TO PLAINTIFFS’
                FIRST SET OF INTERROGATORIES (NOS. 1-12) TO DEFENDANTS

             In accordance with Federal Rules of Civil Procedure 26 and 33 and Civil Local Rule 26(b)

     and (c), Defendants Cox Communications, Inc. and CoxCom LLC (collectively, “Cox”) respond

     to Plaintiffs’ First Set of Interrogatories as follows. This response is made solely for the purposes

     of this litigation. Cox’s investigation into the facts of this case is ongoing and is not yet completed,

     and Cox therefore reserves the right to supplement or amend its responses and objections to the

     extent allowed by the Federal Rules of Civil Procedure, the Local Rules, and the orders of this

     Court. The responses are based solely on the information that is presently available and

     specifically known to Cox.

                OBJECTIONS TO PLAINTIFFS’ DEFINITIONS AND INSTRUCTIONS
             Cox objects as follows to Plaintiffs’ Definitions and Instructions. To the extent the

     Definitions or Instructions are incorporated into the requests in Plaintiffs’ First Set of

     Interrogatories, Cox incorporates these Objections as if set forth fully in response to each such

     request.




                                                        1
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 3 of 20 PageID# 2221




         1.     Cox objects to each Definition and Instruction to the extent it purports to impose any

  requirement or discovery obligation on Cox other than those set forth in the Federal Rules of Civil

  Procedure and the applicable rules of this Court.

         2.     Cox objects to the definition of the terms “person” or “persons” as overbroad and

  unduly burdensome, vague and ambiguous, and as calling for the production of information outside

  of Cox’s possession, custody, or control, in particular to the extent that it purports to require Cox

  to obtain or provide information from or concerning a “person’s successors, assigns, personal

  representatives, and heirs, by operation of law or otherwise.” Cox will respond consistent with and

  in compliance with its obligations under the Federal Rules of Civil Procedure.

         3.     Cox objects to the definition of the term “describe” as massively overbroad and

  unduly burdensome to the extent it purports to require Cox to identify “all persons,

  communications, or documents that … evidence your answer,” which would render each of

  Plaintiffs’ interrogatories compound, such that each of them would contain at least three discrete

  subparts: one seeking information; one seeking identification of persons; and one seeking

  identification of communications or documents. Cox will give the term “describe” its ordinary

  meaning.

         4.     Cox objects to the definition of the term “identify” as it applies to documents, to the

  extent it purports to impose on Cox any obligation outside the scope of the Federal Rules of Civil

  Procedure or the applicable rules and orders of this Court. When identifying a document or

  documents, Cox will specify the records in sufficient detail to enable Plaintiffs to locate and

  identify them as readily as Cox could, including, where appropriate, by identifying the Bates

  number or range of documents produced in discovery in this lawsuit.

         5.     Cox objects to Plaintiffs’ instruction concerning information, documents, or



                                                   2
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 4 of 20 PageID# 2222




  communications that are protected from disclosure by the attorney-client privilege, work-product

  doctrine, or any other privilege, doctrine, or immunity, to the extent that instruction purports to

  impose any requirement or discovery obligation on Cox other than those set forth in the Federal

  Rules of Civil Procedure and the applicable rules of this Court. Cox will respond consistent with

  and in compliance with its obligations under the Federal Rules of Civil Procedure.

         6.     Cox objects to Plaintiffs’ definition of the “relevant time frame” as overbroad and

  unduly burdensome, since Plaintiffs have expressly limited the time period of their claims in this

  litigation to the period between February 2013 and November 2014 (“Plaintiffs’ Claim Period”).

                             COX’S RESPONSES TO PLAINTIFFS’

                          INTERROGATORIES (SET ONE, NOS. 1-12)

         INTERROGATORY NO. 1

         Identify all Persons, including current and former employees, with responsibility for

  designing, developing, or implementing your policies and protocols for addressing alleged

  copyright violations through Cox’s network at any time during the period of January 1, 2008

  through December 31, 2014, including by identifying the roles and dates such Persons had such

  responsibility.

         RESPONSE TO INTERROGATORY NO. 1

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, including to the extent it seeks information outside the relevant time period in this

  litigation. Cox will not commit to inquire for or provide information from before January 1,

  2010. Cox further objects to this request as overbroad, unduly burdensome, vague and

  ambiguous, in seeking the identification of “all persons” and in its use of the undefined term



                                                    3
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 5 of 20 PageID# 2223




  “responsibility.” Cox further objects to this request because it is unduly burdensome and

  unnecessarily duplicates other discovery requests that Plaintiffs have propounded, including

  Plaintiffs’ request for production of documents no. 15. Cox reserves its right to respond to this

  interrogatory pursuant to Fed. R. Civ. P. 33(d).

         Subject to and without waiving its general and specific objections, Cox identifies the

  following current or former employees with responsibility for designing, developing, or

  implementing Cox’s policies and protocols for addressing allegations of copyright infringement

  through Cox’s network:

            Brent Beck (Software Engineer II from approximately 2007 through at least November
             30, 2014)
            Randall Cadenhead (Privacy Counsel from approximately 2003 through approximately
             December, 2013)
            Matthew Carothers (head of Cox’s abuse department from 2001-2007; security
             engineer beginning in 2007; currently Principal Security Architect)
            Andrea Dameri (Network Security engineer from approximately 2007 through at least
             November 30, 2014)
            Martin Matthews (Network Security engineer from approximately 2007 through at
             least November 30, 2014)
            Joseph Sikes (Network Security engineer from approximately 2010 through at least
             November 30, 2014)
            Andrew Thompson (Network Security engineer from approximately 2005 through at
             least November 30, 2014)
            Roger Vredenburg (Network Security engineer from approximately 2008 through at
             least November 30, 2014)
            Jason Zabek (Manager, Customer Safety and Abuse Operations from approximately
             2009 through at least November 30, 2014)
         INTERROGATORY NO. 2

         Identify each Infringement Notice You received alleging infringement of one or more

  copyrights owned or controlled by a record company or music publisher. Your response should

  include the date of the Infringement Notice, the content allegedly infringed, the IP address of the



                                                     4
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 6 of 20 PageID# 2224




  Subscriber identified in the notice, and the rights holder on whose behalf the notice was sent.

         RESPONSE TO INTERROGATORY NO. 2

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, because it seeks information about works and parties not at issue in this case, and to the

  extent it seeks information outside Plaintiffs’ Claim Period. Cox further objects to this request as

  overbroad, unduly burdensome, and vague and ambiguous, in requesting information concerning

  “copyrights owned or controlled by a record company or music publisher,” because Cox lacks

  knowledge and cannot reasonably obtain knowledge concerning whether copyrights are “owned

  or controlled” by particular entities, or whether a particular entity is a record company or music

  publisher. Cox further objects to this request because it is unduly burdensome and unnecessarily

  duplicates other discovery requests that Plaintiffs have propounded, including without limitation

  Plaintiffs’ requests for production of documents nos. 11, 19, and 22. Cox further objects to this

  request to the extent it seeks information that is not reasonably accessible because of undue

  burden or cost, and Cox reserves the right to shift the cost of accessing such information to

  Plaintiffs. Cox further objects to this request to the extent relevant information cannot be

  reasonably identified with information Cox possesses. Cox reserves its right to respond to this

  interrogatory pursuant to Fed. R. Civ. P. 33(d).

         Subject to and without waiving its general and specific objections, pursuant to Fed. R.

  Civ. P. 33(d) Cox will specify business records that will enable Plaintiffs to determine the

  requested information with respect to notices of claimed infringement of Plaintiffs’ works that

  were submitted to Cox on behalf of Plaintiffs during Plaintiffs’ Claim Period, to the extent Cox

  finds such information in its possession, custody, or control after a reasonably diligent search.




                                                     5
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 7 of 20 PageID# 2225




         INTERROGATORY NO. 3

         Identify each Subscriber about whom You received an Infringement Notice alleging

  infringement of one or more copyrights owned or controlled by a record company or music

  publisher. Your response should include the Subscriber’s name, address, account number,

  bandwidth speed associated with each account, associated IP address(es), and the number of

  Infringement Notices you received about the Subscriber.

         RESPONSE TO INTERROGATORY NO. 3

         Cox objects that this request contains at least three discrete subparts. Cox further objects

  that this request is overbroad, unduly burdensome, and seeks information that is outside the

  scope of permissible discovery because it is not relevant to any party's claim or defense, because

  it seeks information concerning works and parties not at issue in this litigation, because it

  demands irrelevant information concerning a subscriber’s “bandwidth speed,” and to the extent it

  seeks information outside Plaintiffs’ Claim Period. Cox further objects to this request as

  overbroad, unduly burdensome, and vague and ambiguous, in requesting information concerning

  “copyrights owned or controlled by a record company or music publisher,” because Cox lacks

  knowledge and cannot reasonably obtain knowledge concerning whether copyrights are “owned

  or controlled” by particular entities, or whether a particular entity is a record company or music

  publisher. Cox further objects to this request as vague and ambiguous with respect to the term

  “received.” Cox will not provide information concerning notices of claimed infringement that

  Cox obtained only through discovery in litigation, including the BMG Litigation. Cox further

  objects to this request because it is unduly burdensome and unnecessarily duplicates other

  discovery requests that Plaintiffs have propounded, including without limitation Plaintiffs’

  request for production of documents no. 34. Cox further objects to this request to the extent it




                                                    6
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 8 of 20 PageID# 2226




  seeks information that is in Plaintiffs’ possession, custody, or control, or that is equally available

  to Plaintiffs. Cox further objects to this request to the extent it seeks information that is not

  reasonably accessible because of undue burden or cost, and Cox reserves the right to shift the

  cost of accessing such information to Plaintiffs. Cox further objects to this request on the

  grounds that it improperly attempts to evade the requirements and procedures of 17 U.S.C. §

  512(h), relating to subpoenas for the purpose of identifying alleged infringers, and to the extent it

  purports to require Cox to disclose information, including personally identifiable information,

  that infringes on any individual’s right of privacy, including without limitation any privacy right

  protected under the United States Constitution or applicable state constitution, federal or state

  statute, federal or state regulation, the common law, or otherwise. Cox reserves its right to

  respond to this interrogatory pursuant to Fed. R. Civ. P. 33(d).

          Subject to and without waiving its general and specific objections, pursuant to Fed. R.

  Civ. P. 33(d) Cox will specify business records that will enable Plaintiffs to determine the IP

  address of Cox subscribers for whom Cox received notices of claimed infringement of Plaintiffs’

  works that were submitted to Cox on behalf of Plaintiffs during Plaintiffs’ Claim Period, to the

  extent Cox finds such information in its possession, custody, or control after a reasonably

  diligent search. Cox will not produce personally identifiable information, other than the IP

  address, for any person absent a subpoena, Court order, or other form of due process that affords

  any affected person notice and an opportunity to challenge the disclosure of such information.

  Cox is willing to confer in good faith with Plaintiffs to determine a reasonable procedure and

  scope for this request.

          INTERROGATORY NO. 4

          Identify each infringement notice or communication You sent to a Subscriber notifying




                                                     7
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 9 of 20 PageID# 2227




  them of an allegation contained in an Infringement Notice.

          RESPONSE TO INTERROGATORY NO. 4

          Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks information about notices of claimed infringement submitted by or on behalf of

  third parties, and to the extent it seeks information outside Plaintiffs’ Claim Period. Plaintiffs’

  Claim Period. Cox further objects that this request is overbroad and unduly burdensome and

  seeks information that is outside the scope of permissible discovery because it is not proportional

  to the needs of the case, considering the importance of the issues at stake in the action, the

  parties’ relative access to relevant information, the parties’ resources, the amount in controversy,

  the importance of the discovery in resolving the issues, and whether the burden or expense of the

  proposed discovery outweighs its likely benefit. Cox further objects to this request because it is

  unduly burdensome and unnecessarily duplicates other discovery requests that Plaintiffs have

  propounded, including without limitation Plaintiffs’ request for production of documents no. 23.

  Cox further objects to this request to the extent it purports to require Cox to disclose confidential

  or proprietary information, including confidential or proprietary information belonging to third

  parties. Cox further objects to this request to the extent it purports to require Cox to disclose

  information, including personally identifiable information, that infringes on any individual’s

  right of privacy, including without limitation any privacy right protected under the United States

  Constitution or applicable state constitution, federal or state statute, federal or state regulation,

  the common law, or otherwise. Cox further objects to this request to the extent it seeks

  information that is not reasonably accessible because of undue burden or cost, and Cox reserves

  the right to shift the cost of accessing such information to Plaintiffs. Cox further objects to this




                                                     8
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 10 of 20 PageID# 2228




  request to the extent relevant information cannot be reasonably identified with information Cox

  possesses. Cox reserves its right to respond to this interrogatory pursuant to Fed. R. Civ. P.

  33(d).

           Subject to and without waiving its general and specific objections, pursuant to Fed. R.

  Civ. P. 33(d) Cox will specify business records that will enable Plaintiffs to determine the

  requested information with respect to notices of claimed infringement of Plaintiffs’ works that

  were submitted to Cox on behalf of Plaintiffs during Plaintiffs’ Claim Period, to the extent Cox

  finds such information in its possession, custody, or control after a reasonably diligent search.

           INTERROGATORY NO. 5

           Identify each Subscriber whose Internet service You terminated, suspended, or otherwise

  limited in response to an Infringement Notice, including by identifying the action taken by You

  on the Subscriber’s Internet service.

           RESPONSE TO INTERROGATORY NO. 5

           Cox objects that this request contains at least two discrete subparts. Cox further objects to

  this request to the extent it seeks information that is outside the scope of permissible discovery

  because it is not relevant to any party's claim or defense, to the extent it seeks information about

  notices of claimed infringement submitted by or on behalf of third parties, and to the extent it

  seeks information outside Plaintiffs’ Claim Period. Cox further objects to this request to the

  extent it improperly seeks information protected from disclosure by the attorney-client privilege,

  work product doctrine, common interest privilege, or other applicable privilege or doctrine. Cox

  further objects to this request on the grounds that it improperly attempts to evade the

  requirements and procedures of 17 U.S.C. § 512(h), relating to subpoenas for the purpose of

  identifying alleged infringers, and to the extent it purports to require Cox to disclose information,




                                                     9
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 11 of 20 PageID# 2229




  including personally identifiable information, that infringes on any individual’s right of privacy,

  including without limitation any privacy right protected under the United States Constitution or

  applicable state constitution, federal or state statute, federal or state regulation, the common law,

  or otherwise. Cox further objects to this request to the extent it seeks information that is not

  reasonably accessible because of undue burden or cost, and Cox reserves the right to shift the

  cost of accessing such information to Plaintiffs. Cox further objects to this request to the extent

  relevant information cannot be reasonably identified with information Cox possesses. Cox

  reserves its right to respond to this interrogatory pursuant to Fed. R. Civ. P. 33(d).

         INTERROGATORY NO. 6

         Identify the number of Subscribers You terminated for violation of your Acceptable Use

  Policy, broken out by the provision of the Acceptable Use Policy violated. For Subscribers

  terminated for violating more than one provision of the Acceptable Use Policy, organize Your

  response by grouping the provisions violated (i.e., X number of Subscribers terminated violating

  provisions A and B; Y number of Subscribers terminated violating provisions C and D).

         RESPONSE TO INTERROGATORY NO. 6

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, to the extent that Cox’s Acceptable Use Policy applies to conduct that is not relevant to

  this case, to the extent it seeks information about activity unrelated to alleged infringement of

  Plaintiffs’ works-in-suit, and to the extent it seeks information outside Plaintiffs’ Claim Period.

  Cox further objects to this request because it is unduly burdensome and unnecessarily duplicates

  other discovery requests that Plaintiffs have propounded, including Plaintiffs’ request for

  production no. 39. Cox reserves its right to respond to this interrogatory pursuant to Fed. R. Civ.




                                                   10
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 12 of 20 PageID# 2230




  P. 33(d).

  INTERROGATORY NO. 7

         Describe your IP address assignment protocol, including but not limited to the manner in

  which You assign IP addresses to Subscribers and the circumstances under and frequency with

  which a Subscriber’s IP address is changed.

         RESPONSE TO INTERROGATORY NO. 7

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense to the extent it

  seeks information outside Plaintiffs Claim Period. Cox further objects to this request to the

  extent it purports to require Cox to disclose confidential or proprietary information. Cox further

  objects to this request because it is unduly burdensome and unnecessarily duplicates other

  discovery requests that Plaintiffs have propounded, including Plaintiffs’ request for production

  no. 32. Cox reserves its right to respond to this interrogatory pursuant to Fed. R. Civ. P. 33(d).

         Subject to and without waiving its general and specific objections, Cox responds as

  follows: an organization called the American Registry of Internet Numbers (ARIN), which is the

  governing body for IP address assignment in the United States, assigns certain IP addresses to

  Cox for its use. While Cox assigns some (but not all) business subscribers a static, or fixed, IP

  address, Cox does not assign residential subscribers a static IP address. Typically, IP addresses

  are assigned dynamically, using an industry-standard protocol called Dynamic Host

  Configuration Protocol, or DHCP. Under the DHCP protocol, a Cox subscriber connects to

  Cox’s ISP network and requests an IP address from Cox’s DHCP server. In response, Cox’s

  system automatically assigns an available IP address to the subscriber’s connecting device in

  accordance with the DHCP protocol. This assignment, which is referred to as a “DHCP lease,” is




                                                   11
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 13 of 20 PageID# 2231




  temporary, with a pre-defined time limit that is set by Cox’s DHCP servers. To the best of Cox’s

  knowledge, after a reasonably diligent inquiry and based on the information available to it at this

  time, the duration of DHCP leases on Cox’s system during Plaintiffs’ Claim Period was 24

  hours, which is a typical duration for such leases. A device that is assigned an IP address using

  the DHCP protocol will typically attempt to renegotiate a new lease before the existing DHCP

  lease expires. After the renegotiation, the device may be reassigned the same IP address, or it

  may be assigned a new IP address. An expired IP address immediately becomes available for

  assignment to another connected device. Cox stores the list of assigned IP addresses, with

  information about the corresponding modem or connected device, in a database. When the

  DHCP lease expires, the database will reflect the ending time as well. Pursuant to Fed. R. Civ. P.

  33(d), Cox further reserves the right to specify business records or documents that will enable

  Plaintiffs to determine the requested information.

         INTERROGATORY NO. 8

         Describe in detail the effect that terminating accounts of Subscribers accused of copyright

  infringement has, or you believe could have, on your financial interests or the attractiveness of

  your internet service.

         RESPONSE TO INTERROGATORY NO. 8

         Cox objects that this request contains at least two discrete subparts. Cox further objects

  that this request is vague and ambiguous, and to the extent it improperly seeks information

  protected from disclosure by the attorney-client privilege, work product doctrine, common

  interest privilege, or other applicable privilege or doctrine.

         Subject to and without waiving its general and specific objections, Cox responds as

  follows: When Cox terminates an Internet subscriber’s account, Cox no longer provides Internet




                                                    12
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 14 of 20 PageID# 2232




  service to the terminated subscriber, and no longer receives payment from the subscriber for the

  terminated service. Pursuant to Fed. R. Civ. P. 33(d) Cox will specify business records, if any,

  that will enable Plaintiffs to determine the requested information, to the extent Cox finds such

  information in its possession, custody, or control after a reasonably diligent search.

         INTERROGATORY NO. 9

         Describe in detail all technological barriers or other means or mechanisms you

  implemented to deter or remedy use of your internet services in violation of your Acceptable Use

  Policy on grounds other than copyright infringement.

         RESPONSE TO INTERROGATORY NO. 9

         Cox objects to this request as vague and ambiguous, overbroad, and unduly burdensome,

  and to the extent it seeks information that is outside the scope of permissible discovery because it

  is not relevant to any party’s claim or defense, including because Cox’s Acceptable Use Policy

  applies to conduct that lacks relevance to the claims or defenses of any party, and to the extent

  the request seeks documents outside Plaintiffs’ Claim Period. Cox further objects that this

  request is vague and ambiguous, in particular as the meaning of the phrase “other means or

  mechanisms,” and fails to describe with reasonable particularity the information sought. Cox

  further objects to this request because it is unduly burdensome and unnecessarily duplicates other

  discovery requests that Plaintiffs have propounded, including request for production no. 41. Cox

  further objects to this request to the extent it improperly seeks information protected from

  disclosure by the attorney-client privilege, work product doctrine, common interest privilege, or

  other applicable privilege or doctrine. Cox reserves its right to respond to this interrogatory

  pursuant to Fed. R. Civ. P. 33(d).




                                                   13
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 15 of 20 PageID# 2233




         INTERROGATORY NO. 10

         Identify the revenues and profits attributable to Subscribers about whom you received

  Infringement Notices, including the overall revenue and profit, and the per Subscriber revenue

  and profit by quarter and year.

         RESPONSE TO INTERROGATORY NO. 10

         Cox objects to this request to the extent it seeks information that is outside the scope of

  permissible discovery because it is not relevant to any party's claim or defense, including to the

  extent it seeks information outside Plaintiffs’ Claim Period, and including to the extent it seeks

  information concerning notices of claimed infringement submitted by or on behalf of third

  parties. Cox further objects that this request is vague and ambiguous, and unduly burdensome

  and unnecessarily duplicates other discovery requests that Plaintiffs have propounded, including

  Plaintiffs’ request for production of documents no. 57. Cox further objects to this request to the

  extent it improperly seeks expert discovery outside the scope, and before the time, set by the

  Federal Rules of Civil Procedure, the Local Rules, and the orders of this Court. Cox reserves its

  right to respond to this interrogatory pursuant to Fed. R. Civ. P. 33(d).

         INTERROGATORY NO. 11

         State the number of Subscribers, per quarter and year from January 1, 2008 through

  December 31, 2014, whose internet service you terminated for failing to pay amounts owing on

  the Subscriber’s account.

         RESPONSE TO INTERROGATORY NO. 11

         Cox objects that this request is overbroad, unduly burdensome, and seeks information

  that is outside the scope of permissible discovery because it is not relevant to any party's claim or

  defense, and to the extent this request seeks information outside Plaintiffs’ Claim Period. Cox




                                                   14
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 16 of 20 PageID# 2234




  reserves its right to respond to this interrogatory pursuant to Fed. R. Civ. P. 33(d).

          INTERROGATORY NO. 12

          Describe with particularity the factual bases for Your affirmative defense that Plaintiffs’

  claims are barred by the doctrine of copyright misuse.

          RESPONSE TO INTERROGATORY NO. 12

          Cox objects to this request to the extent it improperly seeks information protected from

  disclosure by the attorney-client privilege, work product doctrine, common interest privilege, or

  other applicable privilege or doctrine. Cox will not provide such privileged or protected

  information. Cox further objects to this request to the extent it calls for a legal conclusion, and to

  the extent it improperly seeks expert discovery outside the scope, and before the time, set by the

  Federal Rules of Civil Procedure, the Local Rules, and the orders of this Court. Cox further

  objects to this request to the extent it seeks information not in Cox’s possession, custody, or

  control; information that is exclusively in Plaintiffs’ possession, custody, or control; or

  information that is publicly available, or that is equally available to Plaintiffs.

          Subject to and without waiving its general and specific objections, Cox responds as

  follows: based on Cox’s investigation, it appears that the specific IP addresses that Plaintiffs

  identify in their Complaint as “flagrant and serial infringers” identified in hundreds of

  infringement notices were assigned to corporate entities or institutions during the relevant times.

  As Plaintiffs are aware, entities such as these are likely to serve a large number of individual

  users. However, to an observer on the Internet, the online activity of all those individual users

  will appear to be emanating from a single IP address. Based on Cox’s review of the information

  available to it, Cox believes that Plaintiffs knowingly and intentionally targeted hundreds of

  notices of claimed infringement to such entities, intending to artificially inflate the number of




                                                    15
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 17 of 20 PageID# 2235




  purported infringements they had supposedly “detected” from a single IP address. Plaintiffs

  intended thereby to create the misleading appearance that a few individuals were committing

  many acts of infringement, as part of an improper attempt to expand the scope of their alleged

  copyrights. Cox further responds that additional discovery may reveal additional factual bases

  for this affirmative defense and expressly reserves the right to supplement this response. Cox

  further responds that additional information and evidence responsive to this request is largely or

  exclusively in Plaintiffs’ possession, custody, or control. Cox will supplement its response as

  discovery progresses, pursuant to and in compliance with the Federal Rules of Civil Procedure,

  the Local Rules, and rules and orders of this Court.



  Dated: December 19, 2018                     /s/ /Michael S. Elkin/
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                                               and CoxCom, LLC

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                                                  16
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 18 of 20 PageID# 2236




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                                          17
Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 19 of 20 PageID# 2237



                                          VERIFICATION

  I. Marcus Delgado, declare:

          I am Chief IP Counsel for Cox Communications, Inc. and CoxCom LLC, Defendants in

  the above-titled action, and I am duly authorized to make this Verification on their behalf. I have

  reviewed the factual, non-legal aspects of the responses by Defendants to Interrogatories Nos.

  1-12 of the foregoing

                 COX'S RESPONSES TO PLAINTIFFS' FIRST SET OF

                 INTERROGATORIES (NOS. 1-12) TO DEFENDANTS,

  and know the contents thereof. I either have personal knowledge that the matters stated in the

  response are true, or I am informed and believe that such matters are true. On that basis I declare,

  under penalty of perjury under the laws of the United States of America, that the foregoing is

  true and correct.



  Executed on /l ~IC/ - I ?




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Case 1:18-cv-00950-PTG-JFA Document 95-2 Filed 02/01/19 Page 20 of 20 PageID# 2238




                                    CERTIFICATE OF SERVICE


         I am a resident of the State of California, over the age of eighteen years, and not a party

  to the within action. My business address is Winston & Strawn LLP, 101 California Street, San

  Francisco, CA 94111-5840. On December 19, 2018, I served the following documents:


                 COX’S RESPONSES TO PLAINTIFFS’ FIRST SET OF
                 INTERROGATORIES (NOS. 1-12) TO DEFENDANTS

  pursuant to the written agreement of the parties to be served by electronic means, by email to

  Plaintiffs’ counsel as follows:


         Jeffrey M. Gould, Oppenheim + Zebrak, LLP
         Email: jeff@oandzlaw.com


         I declare under penalty of perjury under the laws of the State of California and the United

  States that the foregoing is true and correct.


  Dated: December 19, 2018


  Signed: /s/
         Thomas J. Kearney




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